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  1   Christopher S. Marchese (SBN 170239)
      marchese@fr.com
  2   Tyler R. Train (SBN 318998)
      train@fr.com
  3   FISH & RICHARDSON P.C.
  4   633 West Fifth Street, 26th Floor
      Los Angeles, CA 90071
  5   Tel: (213) 533-4240 / Fax: (858) 678-5099
  6   Adam R. Shartzer (admitted pro hac vice)
  7   shartzer@fr.com
      Ruffin B. Cordell (admitted pro hac vice)
  8   cordell@fr.com
      Richard A. Sterba (admitted pro hac vice)
  9   sterba@fr.com
      Ralph A. Phillips (admitted pro hac vice)
 10   rphillips@fr.com
 11   Michael J. Ballanco (admitted pro hac vice)
      ballanco@fr.com
 12   Taylor C. Burgener (SBN 348769)
      burgener@fr.com
 13   FISH & RICHARDSON P.C.
 14   1000 Maine Ave., SW, Suite 1000
      Washington, DC 20024
 15   Tel: (202) 783-5070 / Fax: (202) 783-2331
 16   Additional Counsel Listed on Signature Page
 17   Attorneys for Defendants and Counter-Claimants
 18   DISH Network Corporation, et al.

 19                   IN THE UNITED STATES DISTRICT COURT
 20         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 21 ENTROPIC COMMUNICATIONS,                   Case No. 2:23-cv-1043-JWH-KES
 22 LLC,
                                               DEFENDANTS DISH NETWORK
 23                        Plaintiff,          CORPORATION, ET AL.’S NOTICE
                                               OF HEARING DEMONSTRATIVES
 24        v.
                                     District Judge: Hon. John W. Holcomb
 25 DISH NETWORK CORPORATION;        Magistrate Judge: Hon. Karen E. Scott
 26 DISH NETWORK L.L.C.; DISH        Discovery Special Master: David Keyzer
    NETWORK SERVICE L.L.C.; AND
 27 DISH NETWORK CALIFORNIA
    SERVICE CORPORATION,
 28
                    Defendants.
                         DISH’S NOTICE OF HEARING DEMONSTRATIVES
                                           Case No. 2:23-cv-1043-JWH-KES
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  1
    DISH NETWORK CORPORATION;
  2 DISH NETWORK L.L.C.; DISH
    NETWORK SERVICE L.L.C.; DISH
  3 NETWORK CALIFORNIA SERVICE
  4 CORPORATION; AND DISH
    TECHNOLOGIES L.L.C.,
  5
                 Counter-Claimants,
  6
    v.
  7
  8 ENTROPIC COMMUNICATIONS,
    LLC; MAXLINEAR, INC.; AND
  9 MAXLINEAR COMMUNICATIONS
    LLC,
 10
 11              Counter-Defendants.

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                              DISH’S NOTICE OF HEARING DEMONSTRATIVES
                                               Case No. 2:23-cv-1043-JWH-KES
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  1         Defendants DISH Network Corporation, DISH Network L.L.C., Dish Network
  2   Service L.L.C., and Dish Network California Service Corporation and DISH
  3   Technologies L.L.C. (collectively, “Counter-Claimants” and “DISH”) hereby give
  4   notice of the filing and service of an electronic copy of DISH’s non-confidential
  5   demonstrative presentation slides, attached hereto as Exhibit A, that DISH intends to
  6   use at the April 11, 2024 hearing set by the Special Master, pursuant to Special Master
  7   Order No. SM-18.
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                                                   Case No. 2:23-cv-1043-JWH-KES
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  1   Dated: April 10, 2024             FISH & RICHARDSON P.C.
  2
                                        By: /s/ Christopher S. Marchese
  3                                         Christopher S. Marchese (SBN 170239)
  4                                         marchese@fr.com
                                            Tyler R. Train (SBN 318998)
  5                                         train@fr.com
                                            633 West Fifth Street, 26th Floor
  6                                         Los Angeles, CA 90071
  7                                         Tel: (213) 533-4240

  8                                         Adam R. Shartzer (pro hac vice)
                                            Ruffin B. Cordell (pro hac vice)
  9                                         cordell@fr.com
                                            Richard A. Sterba (pro hac vice)
 10                                         sterba@fr.com
 11                                         Ralph A. Phillips (pro hac vice)
                                            rphillips@fr.com
 12                                         shartzer@fr.com
                                            Michael J. Ballanco (pro hac vice)
 13                                         ballanco@fr.com
 14                                         Taylor C. Burgener (SBN 348769)
                                            burgener@fr.com
 15                                         FISH & RICHARDSON P.C.
                                            1000 Maine Ave., SW, Suite 1000
 16                                         Washington, DC 20024
                                            Tel: (202) 783-5070
 17
 18                                         David M. Barkan (SBN 160825)
                                            barkan@fr.com
 19                                         FISH & RICHARDSON P.C.
                                            500 Arguello Street, Suite 400
 20                                         Redwood City, CA 94063
 21                                         Tel: (650) 839-5070

 22                                         Ashley A. Bolt (pro hac vice)
                                            bolt@fr.com
 23                                         FISH & RICHARDSON P.C.
                                            1180 Peachtree Street NE, 21st Floor
 24                                         Atlanta, GA 30309
 25                                         Tel: (404) 892-5005
 26                                      Aaron P. Pirouznia (pro hac vice)
                                         pirouznia@fr.com
 27                                      FISH & RICHARDSON P.C.
 28                                      1717 Main Street, Suite 5000
                                         Dallas, TX 75201
                                        4
                              DISH’S NOTICE OF HEARING DEMONSTRATIVES
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                                            Tel: (214) 292-4073
  1                                         Fax: (214) 747-2091
  2
                                            Oliver Richards (SBN 310972)
  3                                         orichards@fr.com
                                            John-Paul Fryckman (SBN 317591)
  4                                         fryckman@fr.com
  5                                         Fish & Richardson P.C.
                                            12860 El Camino Real, Suite 400
  6                                         San Diego, CA 92130
                                            Tel: (858) 678-5070
  7
                                        Attorneys for Defendants and Counter-
  8
                                        Claimants DISH Network Corporation, et
  9                                     al.
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